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                       UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION
__________________________________________
                                           )
FEDERAL TRADE COMMISSION, et al.           )
                                           )  Case No. 15cv5781
                  Plaintiffs,              )
                                           )  Judge Gary Feinerman
            v.                             )
                                           )  Mag. Judge Jeffrey T. Gilbert
LIFEWATCH INC., et al.                     )
                                           )
                  Defendants.              )
__________________________________________)

                    PLAINTIFFS’ MOTION TO REOPEN DISCOVERY

       Plaintiffs Federal Trade Commission and State of Florida, Office of the Attorney

General, move this Court pursuant to Fed. R. Civ. P. 16(b)(4), to amend the scheduling order to

reopen discovery until May 31, 2019. Pursuant to Rule 16, a scheduling order may be amended

for good cause shown and with the judge’s consent. Here there is good cause to amend the

scheduling order to reopen discovery. First, significant time has passed since fact discovery

closed, and Plaintiffs should be allowed to pursue evidence that Defendants’ illegal

telemarketing practices have continued in the intervening months. Second, reopening discovery

would potentially resolve Defendants’ pending motion in limine to exclude testimony due to

their claimed inability to depose potential trial witnesses.

       Good cause exists to amend the scheduling order and reopen discovery because nearly 17

months have passed since discovery closed on October 6, 2017. See Scheduling Order dated

August 24, 2017 (Dkt. 233). Since that time, Plaintiffs have received numerous third-party

complaints related to the Defendants’ sale of medical alert systems. Plaintiffs request the

opportunity to obtain and submit testimony from these witnesses, and to seek supplemental
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discovery from Defendants relating to such information, for use at trial as further evidence of

Defendants’ wrongdoing.

       Good cause further exists because reopening discovery could potentially resolve

Defendants’ motion in limine to exclude the testimony at trial of Messrs. Boling, Hilgar, and

Settecase. Prior to the close of discovery, Defendants claimed their limited efforts to serve

Messrs. Boling, Hilgar, and Settecase with deposition subpoenas were unsuccessful. Defendants

subsequently filed a motion in limine asking the Court to either allow Defendants to depose these

witnesses, or preclude them from testifying at trial. (Dkt. 372.) Plaintiffs’ response to

Defendants’ motion is due on June 6, 2019. (Dkt. 400). Were this Court to reopen discovery

until May 31, 2019, Defendants would have an opportunity to take the depositions of Messrs.

Boling, Hilgar, and Settecase prior to the date Plaintiffs’ response is due, thus potentially

resolving their motion in limine.

       Reopening discovery until May 31, 2019, will not cause additional delay because trial in

this matter is not set to begin until July 15, 2019. Plaintiffs did not seek this relief previously

because Defense counsel represented – including in open court – that their clients had accepted

Plaintiffs’ settlement offer. Despite that, after many months, Defendants still have not provided

Plaintiffs with a signed consent order.

       WHEREFORE, Plaintiffs respectfully request that this Court enter an Order reopening

discovery until May 31, 2019.

                                               Respectfully Submitted,



Dated: March 5, 2019                            /s/Samantha Gordon
                                               DAVID A. O’TOOLE
                                               SAMANTHA GORDON
                                               Federal Trade Commission, Midwest Region

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                                CERTIFICATE OF SERVICE

       I, Samantha Gordon, hereby certify that on March 5, 2019, I electronically filed

PLAINTIFFS’ MOTION TO REOPEN DISCOVERY, with the Court using the CM/ECF

system, which will automatically send copies to any attorney of record in the case.



                                                    Respectfully Submitted,

                                                    /s/ Samantha Gordon
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